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                        23-1045
                        23-1146
                 United States Court of Appeals
                    For the Second Circuit
             ____________________________________________

                             E. JEAN CARROLL,
                                                Plaintiff/Appellee,
                                   -against-


                            DONALD J. TRUMP,
                                               Defendant/Appellant.
______________________________________________________________________________
     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT-APPELLANT’S
         EMERGENCY MOTION FOR A STAY PENDING APPEAL



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                      INTRODUCTION AND SUMMARY

      Defendant-Appellant, Donald J. Trump (“Defendant-Appellant”), seeks an

emergent stay pending appeal of the underlying action brought by Plaintiff-Appellee

E. Jean Carroll (“Plaintiff-Appellee”).

      The questions at issue are whether presidential immunity can be waived at all,

and if so whether it was waived here; whether Defendant-Appellant should have

been granted leave to amend his Answer to raise such immunity; and, finally,

whether Defendant-Appellant properly raised the immunity in an Answer

responding to Plaintiff-Appellee’s Amended Complaint.

      The instant appeal is meritorious because presidential immunity is an

“essential Presidential prerogative” that is firmly “rooted in the constitutional

tradition of the separation of powers.” See Nixon v. Fitzgerald, 457 U.S. 731, 743

(1982). As such, it is a matter of subject matter jurisdiction that is inherently non-

waivable. See FRCP 12(h)(3). Even assuming that it is waivable, the District Court

erred in denying Defendant-Appellant’s request to amend his Answer to assert

presidential immunity as a defense, particularly in light of the liberal standard to

amend, the strength of Defendant-Appellant’s argument, and the important policy

considerations at play. Finally, even assuming arguendo that the defense is waivable,

was waived, and leave to amend was properly denied, Defendant-Appellant should

still have been permitted to plead the defense of in his Answer to Plaintiff-Appellee’s



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Amended Complaint, which “supersede[d] the original [complaint], and render[ed]

it of no legal effect.” Shields v. Citytrust Bancorp, 25 F.3d 1125, 1128 (2d Cir. 1994).

       Finally, presidential immunity is an “immunity from suit rather than a mere

defense to liability” which is “effectively lost if a case is erroneously permitted to

go to trial.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). Given that the underlying

action is currently scheduled to proceed to trial on January 15, 2024, it is a foregone

conclusion that, absent a stay, Defendant-Appellant would be required to proceed to

trial without a final resolution of his presidential immunity defense, which has been

properly asserted on multiple grounds. Therefore, a stay of proceedings is necessary

to resolve the critical and dispositive issues raised in the instant appeal.

                              STATEMENT OF FACTS

       In June of 2019, Plaintiff-Appellee made public accusations against

Defendant-Appellant, then-sitting President of the United States, claiming that he

had raped her at some point in the mid-1990s. See Declaration of Michael T. Madaio,

Exhibit A.1 In response, Defendant-Appellant publicly refuted said allegations.

       On November 4, 2019, Plaintiff-Appellee commenced an action in New York

state court, entitled Carroll v. Trump, Index No. 160694/2019, asserting a single

defamation claim against Defendant-Appellant. Id.




1
 All Exhibit references herein refer to the Exhibits attached to the Declaration of Michael T.
Madaio.

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      The United States subsequently certified that Defendant-Appellant’s conduct

was within the scope of his presidential duties under the Westfall Act. See Ex. C. On

this basis, the action was removed to the Southern District pursuant to 28 U.S.C. §

2679(d)(2).

      This certification issue was the subject of a multi-year appeal before this Court

that was ultimately remanded back to the District Court. See Ex. D. The issue

ultimately became moot for reasons that are not relevant to the instant appeal.

      On December 22, 2022, Defendant-Appellant moved for summary judgment

dismissing this action on the basis of presidential immunity or, in the alternative and

to the extent the District Court held such defense had been previously waived, for

leave to amend his Answer to raise the defense. See Exs. E, F. The District Court

denied the motion on July 5, 2023, and Defendant-Appellant appealed on July 19,

2023. See Exs. G, H.

      Plaintiff-Appellee subsequently moved to amend her Complaint, Ex. I, which

the District Court granted on June 13, 2023. See Ex. J. Defendant-Appellant timely

filed his Answer to the Amended Complaint on June 27, 2023 and raised the defense

of presidential immunity. See Ex. K. The District Court struck that defense on

August 7, 2023. Ex. L. Thereafter, Defendant-Appellant filed the instant appeal

which has since been consolidated with the previous appeal. See Exs. M, P.




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      On July 27, 2023, Defendant-Appellant moved before the District Court for a

stay of proceedings pending resolution of this appeal. On August 18, 2023, the

District Court denied Defendant-Appellant’s motion. See Ex. N.

      That same day, Defendant-Appellant’s counsel emailed Plaintiff-Appellee’s

counsel to inform them that Defendant-Appellant intended to move before this Court

for an emergency stay of proceedings. See Ex. O.

                                 JURISDICTION

      This Court has appellate jurisdiction (1) over the District Court’s denial of

presidential immunity and (2) to stay litigation pending that determination pursuant

to FRAP 8(a)(2). It is not meaningfully in dispute that rejection of a presidential

immunity is immediately appealable, as the District Court “assumed without now

deciding.” See Ex. P at n.22; see also Nixon, 457 U.S. at 731 (denial of presidential

immunity is immediately appealable).

      Indeed, this Court has routinely held that denials of immunity based on a

theory of waiver are immediately appealable just as any other denial of such

immunity. See, e.g., EM Ltd. v Banco Cent. De La Republica, 800 F.3d 78, 82 (2d

Cir. 2015) (holding denial of foreign sovereign immunity as waived was

immediately appealable); Blue Ridge v. Republic of Argentina, 735 F.3d 72, 79-81

(2d Cir. 2013) (holding denial of foreign sovereign immunity as waived was

immediately appealable).



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      Thus, upon accepting jurisdiction for the appeal, FRAP 8(a)(2) specifically

allows this Court to issue a stay of the underlying litigation pending appellate

resolution.

                               LEGAL ARGUMENT

      The underlying litigation should be stayed pending appeal because the District

Court has been divested of jurisdiction—as the questions on appeal go to Defendant-

Appellant’s immunity from the suit in its entirety—and because the traditional

factors to be considered for such stays weigh staying litigation regardless of whether

the District Court retains jurisdiction.

I.    THE DISTRICT COURT HAS BEEN DIVESTED OF JURISDICTION
      PENDING APPEAL

      The underlying litigation must be stayed on the basis that the District Court is

currently divested of jurisdiction.

      Interlocutory appeals divest trial courts of jurisdiction “over those aspects of

the case involved in the appeal”; presidential immunity confers immunity from suit

in its entirety; and therefore appeals involving immunity from suit pertain to—and

divest jurisdiction from the District Court over—the entirety of the litigation. See

Griggs v. Provident Consumer Discount, 459 U.S. 56, 58 (1982) (“The filing of a

notice of appeal…confers jurisdiction on the court of appeals and divests the district

court of its control over those aspects of the case involved in the appeal.”).




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      Because this appeal involves immunity from the suit in its entirety, the appeal

divests the District Court of jurisdiction from the entirety of the suit while the appeal

remains pending. See, e.g., United States v. Rodgers, 101 F.3d 247, 251 (2d Cir.

1996) (“A district court does not regain jurisdiction until the issuance of the mandate

by the clerk of the court of appeals.”); Harlow v. Fitzgerald, 457 U.S. 800, 818

(1982) (“Until this threshold immunity question is resolved, discovery should not be

allowed.” ); Williams v. Brooks, 996 F.2d 728, 729 (5th Cir.1993) (the “rule

that…filing []a notice of appeal divests a district court of jurisdiction…applies with

particular force in the immunity context.”).

      As noted in the District Court’s August 18, 2023 Order, the District Court

would only retain jurisdiction over the action if this appeal were frivolous. See Ex.

P at n.22. As set forth in greater detail below, Defendant-Appellant’s arguments on

appeal have a substantial likelihood of success and, at the very least, are not

frivolous. This appeal raises questions for which there are no binding cases on point

and which have therefore never been settled, and which delineate the limits of the

constitutional separation of powers. Moreover, as set forth below, Defendant-

Appellant has numerous compelling and meritorious arguments that will be

advanced on appeal.




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      Thus, the District Court’s finding that the instant appeal is frivolous simply

does not withstand scrutiny and the District Court has been divested of jurisdiction

to proceed forward with the underlying action.

II.   THE STAY FACTORS WEIGH HEAVILY IN FAVOR                                     OF
      GRANTING DEFENDANT-APPELLANT RELIEF

      Regardless of whether the District Court retains any jurisdiction pending

appeal, the general factors to be considered in issuing a stay pending appeal

nonetheless support a stay in this case.

      “The four factors to be considered in issuing a stay pending appeal are well

known: ‘(1) whether the stay applicant has made a strong showing that he is likely

to succeed on the merits; (2) whether the applicant will be irreparably injured absent

a stay; (3) whether issuance of the stay will substantially injure the other parties

interested in the proceeding; and (4) where the public interest lies.’” World Trade

Ctr. Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007).

      A.      Defendant-Appellant Has Shown Sufficient Probability of Success
              on the Merits

              a. Standard For Probability Of Success

      While these four factors are relatively settled, ultimately, “[t]he necessary

‘level’ or ‘degree’ of possibility of success will vary according to the court’s

assessment of the other stay factors.” Mohammed v. Reno, 309 F.3d 95, 101 (2d Cir.

2002); see, e.g., MyWebGrocer v. Hometown Info, 375 F.3d 190, 192 (2d Cir. 2004)



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(requiring “either (a) a likelihood of success on the merits or (b) sufficiently serious

questions going to the merits to make them a fair ground for litigation.”); Citigroup

Glob. Markets v. VCG., 598 F.3d 30, 37 (2d Cir. 2010) (affirming the “serious

questions” standard).

      Here, it is beyond dispute that a serious question exists, considering this is a

fundamental question as to the separation of powers and the President’s authority

that have never been settled, and this Court’s previous acknowledgement that the

related question of Westfall Act immunity presented “a question of extreme public

importance” because “the question touches upon the duties of the President of the

United States, and the personal tort liability he and his successors may (or may not)

face under the Westfall Act.” Carroll v Trump, 49 F.4th 759, 780 (2d Cir. 2022).

      Regardless, under any standard, it is clear that Defendant has advanced several

independent arguments that each have a very significant likelihood of success on

appeal. Thus, for the reasons set forth below, this factor weighs heavily in

Defendant-Appellant’s favor.

             b. Defendant-Appellant Has Shown Sufficient Probability Of
                Success On The Issue Of Waiver

      First, Defendant-Appellant’s non-waiver argument is grounded in Supreme

Court precedent which stands for the proposition that presidential immunity is an

“essential Presidential prerogative” that is firmly “rooted in the constitutional

tradition of the separation of powers,” Nixon v, 457 U.S. at 743. As such, it is a

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“functionally mandated incident of the President’s unique office” which, when

applicable, inherently precludes the judiciary from exercising jurisdiction over the

head of the Executive Department for acts taken within the scope of his official

duties. Id. at 743.

       Indeed, the Supreme Court has recognized that presidential immunity stands

apart from other forms of absolute immunity because it is “derive[d] in principal part

from factors unique to [the President’s] constitutional responsibilities and station,”

Harlow, 457 U.S. at 800, n.17, which is necessarily infringed upon when a

President’s official acts are subject to civil liability because this type of overreach

by the judiciary “curtail[s] the scope of the official powers of the Executive Branch.”

Clinton v. Jones, 520 U.S. 681, 682 (1997); see also Nixon, 457 U.S. at 754 (“[t]he

executive power is vested in [the] President; and as far as his powers are derived

from the constitution, he is beyond the reach of any other department, except in the

mode prescribed by the constitution through the impeaching power.”).

       Consequently, presidential immunity, unlike “[s]uits against other officials

[which]…generally do not invoke separation-of-powers considerations,” Harlow,

457 U.S. at n. 17 (1982), implicates grave separation of powers concerns. The Nixon

Court expressly noted that a court is divested of jurisdiction in cases where

presidential immunity applies, as the separation of powers doctrine flatly prohibits a

court from imposing civil liability upon a President for his official acts:



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      [O]ur cases [] have established that a court, before exercising
      jurisdiction, must balance the constitutional weight of the interest to be
      served against the dangers of intrusion on the authority and functions
      of the Executive Branch. When judicial action is needed to serve broad
      public interests—as when the Court acts, not in derogation of the
      separation of powers, but to maintain their proper balance…or to
      vindicate the public interest in an ongoing criminal prosecution…the
      exercise of jurisdiction has been held warranted. In the case of [a]
      merely private suit for damages based on a President's official acts,
      we hold it is not.

Id. at 754, 2703 (citations omitted) (emphasis added).

      The interplay between presidential immunity and the separation of powers

doctrine was further confirmed in Clinton v. Jones, when the Supreme Court

clarified that the “dominant concern” in Nixon was that a President’s

“decisionmaking process” may be distorted due to “needless worry as to the

possibility of damages actions stemming from any particular official decision.”

Clinton, 520 U.S. at 694. While the Clinton court concluded that President Clinton

was not entitled to presidential immunity, the Court’s decision found that the

conduct at issue took place before President Clinton was in office; therefore, the

Court reasoned, “[w]hatever the outcome of this case, there is no possibility that the

decision will curtail the scope of the official powers of the Executive Branch.”

Clinton, 520 U.S. at 682 (emphasis added).

      The Supreme Court’s holdings in Nixon and Clinton are consistent with the

fundamental principle that the separation of powers doctrine is inherently tied to the

question of Article III standing. See, e.g., Clapper v. Amnesty Int'l, 568 U.S. 398,

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408 (2013) (“The law of Article III standing, which is built on separation-of-powers

principles, serves to prevent the judicial process from being used to usurp the powers

of the political branches.”). Article III standing, in turn, implicates a court’s subject

matter jurisdiction, see, e.g., Ins. Corp. of Ireland v. Cie. des Bauxites, 456 U.S. 694,

702 (1982) (“Subject-matter jurisdiction…is an Art. III…requirement.”), which,

critically, cannot be waived, see FRCP 12(h)(3) (“If the court determines at any time

that it lacks subject-matter jurisdiction, the court must dismiss the action.”).

      Further support for the proposition that presidential immunity is a non-

waivable matter of subject matter jurisdiction is found in the well-established

principle that “controversies which revolve around policy choices and value

determinations constitutionally committed…[to] the confines of the Executive

Branch” are “exclude[d] from judicial review.” Japan Whaling Ass’n v. Am.

Cetacean Soc., 478 U.S. 221, 230 (1986); see also Baker v. Carr, 369 U.S. 186, 210

(1962) (“The nonjusticiability of a political question is primarily a function of the

separation of powers.”); Lujan v. Defenders of Wildlife, 504 U.S. 566, 577 (1992)

(finding that the separation of powers doctrine is violated, and Article III standing is

lacking, when the judiciary “‘assume[s] a position of authority over the

governmental acts of another and co-equal department’ and [] become[]s ‘virtually

continuing monitors of the wisdom and soundness of Executive action.’”) (citation

omitted).



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      Based on the foregoing, it is readily apparent that presidential immunity is a

non-waivable matter of subject matter jurisdiction. As such, the District Court erred

in finding that Defendant-Appellant had waived this defense.

              c. Defendant-Appellant Has Shown Sufficient Probability Of
                 Success On The Issue Of Leave To Amend

      Assuming arguendo that presidential immunity is waivable, Defendant-

Appellant should have been granted leave to amend his Answer to raise it as a

defense.

      Rule 15(a) provides that leave to amend “shall be freely given when justice so

requires.” FRCP 15(a). “The Federal Rules reject the approach that pleading is a

game of skill in which one misstep by counsel may be decisive to the outcome and

accept the principle that the purpose of pleading is to facilitate a proper decision on

the merits.” Foman v. Davis, 371 U.S. 178, 181–82 (1962).

      The District Court denied Defendant-Appellant leave to amend his Answer to

raise presidential immunity based on his purported delay in raising that defense and

the apparent futility of the argument. See Ex. G at 20. Defendant-Appellant

respectfully submits that it was an abuse of discretion to deny leave to amend on

either ground.

      First, the stage in which Defendant-Appellant first raised his presidential

immunity argument—in a motion for summary judgment—is neither remarkable nor

uncommon. Indeed, New York courts routinely permit immunity defenses to be

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raised at this stage in litigation, even when not previously pleaded. See, e.g.,

Stephenson v. Doe, 332 F.3d 68, 76 (2d Cir. 2003) (Finding that qualified immunity

defense was not waived when it was not plead in answer but was “asserted…in other

pretrial submissions.”); Rinaldi v. City of New York, 756 F.Supp. 111, 115 n. 3

(S.D.N.Y. 1990) (“Defendants who do not assert qualified immunity in their answer

can still raise qualified immunity…at summary judgment.”); Sorano v. Taggart, 642

F. Supp.2d 45, 55-56 (S.D.N.Y. 2009) (permitting defendant to raise qualified

immunity defense for the first time in motion for summary judgment). Thus,

Defendant-Appellant properly asserted his presidential immunity in his motion for

summary judgment.

      Defendant-Appellant has a similarly meritorious argument that the District

Court abused its discretion in denying leave to amend on the basis that Defendant-

Defendant-Appellant’s presidential immunity would be futile.

      A President is entitled to wide-ranging immunity for conduct that occurs

within the “outer perimeter” of his official responsibilities. Nixon, 457 U.S. at 749.

In determining whether presidential immunity applies, the relevant inquiry is

whether the liability in a civil lawsuit is “predicated on [the President’s] official

acts.” Nixon, 457 U.S. at 749. A President’s “sphere of protected action” is

interpreted broadly and extends to conduct within the “outer perimeter of his official

responsibilities.” Id. at 756.



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      In finding Defendant-Appellant’s immunity argument to be futile, the District

Court accepting Defendant-Appellant’s contention that he was “addressing a matter

of public concern because the accusation [had] ‘impugned his character and, in turn,

threatened his ability to effectively govern the nation,’ as well as the proposition that

“the president’s speech on a matter of public concern comes within the president’s

official responsibilities.” Ex. G at 23. This should have been the end of the District

Court’s inquiry, as it is well settled that, in determining whether presidential

immunity applies, courts are obligated to look towards the objective nature of the act

in question, not perform a subjective “inquiry into the President’s motives” because

“[i]nquiries of this kind could be highly intrusive.” Nixon, 457 U.S. at 756; see also

Barr v. Matteo, 360 U.S. 564, 575 (1959) (“[T]he claim of an unworthy purpose

does not defeat the privilege [of absolute immunity].”).

      The District Court proceeded to perform precisely the type of “highly

intrusive inquiry” that the Supreme Court has prohibited, finding: “[e]ven assuming

that [Defendant-Appellant’s] decision publicly to deny an accusation of personal

wrongdoing comes within the outer perimeter of his official duties, it does not follow

that [Defendant-Appellant’s] own personal attacks on his [] accuser equally fall

within that boundary.” Ex. H at 25 (emphasis added). In construing Defendant-

Appellant’s statements as a “personal attack” against Plaintiff-Appellee, the District




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Court failed to utilize the objective approach that is required for presidential

immunity.

      The District Court also found that presidential immunity would not apply to

Defendant-Appellant’s statement that Plaintiff-Appellee had “fabricated” her claims

and that she “did so for financial and personal gain.” See Ex. G at p. 25. Yet, in so

finding, the District Court failed to recognize that this was only a minor portion of

Defendant’s statement, which largely focused on the larger denial of the heinous

allegations levied by Plaintiff-Appellee. Further, the Court’s holding is arbitrary

inasmuch as it determined that a President may deny that he committed a rape and

never met the alleged victim, but somehow crossed the threshold into unprotected

behavior by stating the logical and reasonable inference that the false accusation

must have been “fabricated.”

      Therefore, Defendant-Appellant has a significant likelihood of overturning

the District Court’s decision to deny his leave to amend his Answer to assert

presidential immunity.

             d. Defendant-Appellant Has Shown Sufficient Probability Of
                Success On The Issue Of Timely Raising Presidential Immunity
                In His Answer To Plaintiff-Appellee’s Amended Complaint

      Finally, Defendant-Appellant properly and timely raised the defense of

presidential immunity in his Answer to the Amended Complaint.




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      It is well settled that an amended complaint “supersedes the original, and

renders it of no legal effect.” Shields v. Citytrust Bancorp, 25 F.3d 1124, 1128 (2d

Cir. 1994) (citations omitted). Importantly, this means that affirmative defenses that

could have been—but were not—raised in an original answer may be raised in an

answer to an amended complaint. See McFadden v. Monroe Cty. Sheriff, No. 00-cv-

6034, 2002 WL 1348508, at *3 (W.D.N.Y. Apr. 16, 2002) (explaining that

defendants’ response to the amended complaint “was not an amended answer, but

merely an answer” and so defendants were permitted to raise previously unpled

affirmative defenses.”); Deutsch v. Health Ins. Plan, 573 F. Supp. 1443, 1445

(S.D.N.Y. 1983) (“An amended complaint represents a plaintiff’s second bite at the

apple, and a defendant should be accorded the same privilege.”).

      In this context, the only “defenses and objections that are irrevocably waived

by answering an original complaint are those that ‘involve the core issue of a party's

willingness to submit a dispute to judicial resolution,’ such as objections to ‘lack of

personal jurisdiction, improper venue, insufficiency of process and insufficiency of

service.’” Deutsch, 573 F.Supp. at 1445 (citing Shields, 25 F.3d at 1124).

      Defendant-Appellant timely raised presidential immunity in his Answer to

Plaintiff-Appellee’s Amended Complaint. See Exs. K, N. The District Court,

however, overlooked the above-reference standard for reviving previously-waived

affirmative defenses, as established in Shields and its progeny, and merely stated, in



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conclusory fashion, that “[t]he opportunity to answer an amended complaint is not a

free pass to correct past wrongs without justification or basis for doing so.” Ex. L at

22. Further, considering the District Court’s prior decision that presidential

immunity is not a jurisdictional issue, see Ex. G at 16, revival of this defense should

have been permitted under the Shields standard.

      Defendant-Appellant has therefore set forth a likelihood of success on the

merits with respect to the important and novel arguments that will be determined on

appeal, sufficient to justify a stay pending appeal and certainly sufficient to meet the

standard of being non-frivolous necessary to divest the District Court of jurisdiction.

      B.      Defendant-Appellant Will Suffer Irreparable Harm If No Stay Is
              Granted

      The risk of irreparable harm is patent. Immunity provisions, whether absolute

or qualified, serve to spare officials from unwarranted liability as well as “demands

customarily imposed upon those defending a long drawn-out lawsuit,” and are

“effectively lost if a case is erroneously permitted to go to trial.” Siegert v. Gilley,

500 U.S. 226, 232 (1991) (citation omitted).

      “The purpose of conferring absolute immunity is to protect officials not only

from ultimate liability but also from all the time-consuming, distracting, and

unpleasant aspects of a lawsuit[.]” District of Columbia v. Jones, 919 A.2d 604, 611

(D.C. Cir. 2007); see also Mitchell, 472 U.S. at 525 (“[T]he essence of absolute




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immunity is its possessor’s entitlement not to have to answer for his conduct in a

civil damages action.”).

      Assertions of immunity provide protection “not merely to avoid standing trial,

but also to avoid the burdens of such pretrial matters as discovery.” Behrens v.

Pelletier, 516 U.S. 299, 308 (1996). This purpose is inherently and unavoidably

frustrated by acknowledging a President’s immunity only after he is forced to stand

trial. Applying presidential immunity only after the conclusion of litigation

irreparably and indisputably forfeits the President’s constitutional right to not suffer

through conducting litigation based on his actions as sitting President. See In re

Country Squire Assoc. of Carle Place, 203 B.R. 182, 183 (2d Cir. 1996) (noting that

it is the “quintessential form of prejudice” when “absent a stay pending appeal…the

appeal will be rendered moot.”).

      In this context, irreparable harm results when a defendant is forced to proceed

with a matter while the issue of immunity has yet to be resolved. Goshtasby v. Bd.

of Trs., 123 F.3d 427, 428 (7th Cir. 1997) (“[I]f the defendant is correct that it has

immunity, its right to be free of litigation is compromised…if the district court

proceeds while the appeal is pending.”); see also, Williams v. Brooks, 996 F.2d 728,

730 n.2 (5th Cir. 1993) (immunity “‘is effectively lost’ if a case is erroneously

permitted to proceed…while an interlocutory appeal of a denial of immunity is

pending.”) (citation omitted).



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      Therefore, since the issue of whether Defendant-Appellant is immune from

suit has yet to be determined, Defendant-Appellant would be irreparably injured

without the imposition of a stay of the underlying action.

      C.      Plaintiff-Appellee Will Not Suffer Harm from a Stay Pending
              Appeal

      Where harm to the plaintiff is a factor to be considered before staying an

appeal, the very existence of the stay, without more, cannot constitute that harm or

it would otherwise be a meaningless factor. While no delay is ideal, here Plaintiff-

Appellee will suffer no more harm than any other litigant, and less than many.

      Plaintiffs must show significant and particularized hardship to outweigh the

irreparable harm defendants will suffer when litigation is not stayed pending review

of their claim for immunity, and Plaintiff-Appellee has made no such unique

showing. See e.g., World Trade Ctr., 503 F.3d at 170. In the case of World Trade

Ctr., regarding toxic fumes inhaled by workers at the “ground zero site” of the World

Trade Center disaster, the court recognized that the defendants faced irreparable

harm if litigation was not stayed pending appeal of their claim of immunity. Id. In

order to overcome that irreparable harm, it took a showing that the many of the

plaintiffs faced life-threatening injuries and that other plaintiffs had already died

while litigation was pending. Id. at 171.

      Here, there is no reason to fear that Plaintiff-Appellee would suffer any greater

harm than any other plaintiff whose litigation is stayed should this Court grant a stay.

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While the District Court relied on Plaintiff-Appellee’s “advanced age” as a basis for

such harm, it ignored that Plaintiff-Appellee’s waited more than twenty years after

the alleged events occurred to raise her public accusations (that Defendant-Appellant

was certain to refute). See Ex. I at ¶¶ 25, 67. Absent this delay, Appellee could have

been two decades younger during the underlying litigation, and her delay should not

weigh against the public’s interests in staying litigation.

      Moreover, to the extent Plaintiff-Appellee may argue that she will be

prejudiced due to any delay in litigation, any such argument is not, on its own, a

valid reason to deny a stay. New York courts consistently recognize that “‘mere

delay in the litigation does not establish undue prejudice’ for purposes of a motion

to stay.” Goodman v Samsung Elecs. Am, 17-CV-5539 (JGK), 2017 WL 5636286,

at *3 (S.D.N.Y. Nov. 22, 2017); see also Molo Design v. Chanel, 21-CV-01578-

VEC, 2022 WL 2135628, at *3 (S.D.N.Y. May 2, 2022) (“Mere delay does not

constitute prejudice.”); CDX Diagnostics v. U.S. Endoscopy Group, 13-CV-05669

NSR, 2014 WL 2854656, at *4 (S.D.N.Y. June 20, 2014) (same).

      Thus, any inconvenience Plaintiff-Appellee may endure as a result of a stay

is considerably outweighed by the interest in “vindicating the immunity of a[]

defendant[] who might be entitled to immunity from suit.” World Trade Ctr., 503

F.3d 167, 170 (2d Cir. 2007). This is especially true where there are important and

novel questions involving the limits of the separation of powers doctrine, the extent



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of protection afforded under presidential immunity, and the degree of autonomy

afforded to the head of the Executive Branch. These considerations clearly outweigh

the minor prejudice, if any, that Plaintiff-Appellee claims she will suffer if a stay is

imposed.

      D.      The Public Interest Favors a Stay

      As an initial matter, any question involving presidential immunity is

fundamentally unique because the results are effectively certain to guide the manner

in which future Presidents carry out their presidential duties. As set forth herein, if a

President is forced to engage in litigation involving his official acts before the

immunity issue is resolved, every sitting President will be vulnerable to being

dragged into unnecessary litigation, thereby hindering their efforts to effectively lead

the Nation. It is therefore particularly inappropriate for litigation to progress while

the question of presidential immunity remains unsettled.

      As previously recognized by this Court, when an appeal to determine whether

immunity applies remains pending generally, “there is a public interest in vindicating

the immunity of any of the Defendants who might be entitled to immunity from suit”

by staying litigation until the question of that immunity has been resolved. World

Trade Ctr., 503 F.3d at 170.

      With respect to the interests involved in instant matter, this Court has already

acknowledged that the related question of Westfall Act immunity presented “a



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question of extreme public importance” because “the question touches upon the

duties of the President of the United States, and the personal tort liability he and his

successors may (or may not) face under the Westfall Act.” Carroll, 49 F.4th at 780.

      Indeed, the Supreme Court has recognized that there “exists the greatest public

interest in providing” the President with wide-spanning immunity in the

performance of his official acts, and that deprivation of such immunity would be to

the “detriment of not only the President and his office but also the Nation that the

Presidency was designed to serve.” Nixon, 457 U.S. at 752. In particular, the

Supreme Court reasoned:

      Because of the singular importance of the President’s duties, diversion
      of his energies by concern with private lawsuits would raise unique
      risks to the effective functioning of government…[A] President must
      concern himself with matters likely to ‘arouse the most intense
      feelings”…Yet, as our decisions have recognized, it is in precisely such
      cases that there exists the greatest public interest in providing an official
      “the maximum ability to deal fearlessly and impartially with” the duties
      of his office…This concern is compelling where the officeholder must
      make the most sensitive and far-reaching decisions entrusted to any
      official under our constitutional system. Nor can the sheer prominence
      of the President’s office be ignored. In view of the visibility of his office
      and the effect of his actions on countless people, the President would
      be an easily identifiable target for suits for civil damages. Cognizance
      of this personal vulnerability frequently could distract a President from
      his public duties, to the detriment of not only the President and his
      office but also the Nation that the Presidency was designed to serve.

Id. at 752-753 (citations omitted).

      Simply put, it strains credulity to argue any minor inconvenience that

Plaintiff-Appellee would endure during a stay is remotely tantamount to the public’s

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interest in obtaining final resolution as to the question of whether presidential

immunity is underpinned by the separation of powers doctrine, so as to provide the

President a non-waivable immunity from civil liability in the execution of his

presidential duties.

      Based on the foregoing, it is incontrovertible that there are immense public

interests at play, and that a stay pending resolution of these vital questions weighs

heavily in Defendant-Appellant’s favor.

                                 CONCLUSION

      For these reasons, Defendant-Appellant respectfully requests that this Court

grant a stay of all proceedings in the underlying case pending appeal.


Dated: August 24, 2023                 Respectfully submitted,
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                      WORD COUNT CERTIFICATION

      I certify that this brief complies with the word limit requirements in Second

Circuit Local Rule 27.1 and Federal Rule of Appellate Procedure 27(d)(2) because

this brief contains 5,200 words.



                                                  /s/ Michael T. Madaio___
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